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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

   IRA KLEIMAN, as personal representative of
   the estate of David Kleiman, and W&K INFO
   DEFENSE RESEARCH, LLC

              plaintiffs,
   v.                                                                          Case No. 9:18-cv-80176 (BB/BR)

   CRAIG WRIGHT,

         defendant.
   _____________________________________/


                        DR. CRAIG WRIGHT’S AMENDED TRIAL EXHIBIT LIST 1

       Exhibit           Date               Document                   Bates No. / Source            Plaintiffs’   Ruling   Admit-
       Number                               Description                                               Objec-          on     ted
                                                                                                       tions       Objec-
                                                                                                                    tions
         D001                           WITHDRAWN
         D002                           WITHDRAWN
                                        Exhibit D01 in J.
         D003          2/26/16        Warren's 7/24/2019
                                            deposition                                                    R
         D004                           WITHDRAWN
                                         First Amended
                                      Complaint. Kleiman
                                           v. Computer
                                                                     KLEIMAN_00561088-
         D005          9/18/17           Forensics LLC,              KLEIMAN_00561103
                                        Conrad & Paige.
                                       Case No. 50-2016-
                                           CA-013045                                                     R, H
                                      Email chain between
                                         I. Kleiman and
                                       Florida Division of
         D006           6/7/15                                        KLEIMAN_00002695
                                        Corporations re:
                                            articles of
                                          incorporation                                                   R
         D007                           WITHDRAWN



   1
       Dr. Wright reserves the right to introduce any document identified on Plaintiffs’ exhibit list.
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    Exhibit    Date          Document                 Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                   Description                                    Objec-          on     ted
                                                                             tions       Objec-
                                                                                          tions
                         Letter to Department
                                                      KARP_00000052-
     D008     6/18/15    of the Treasury from
                                                      KARP_00000054
                         The Karp Law Firm                                    R, H
     D009                   WITHDRAWN
                           Supreme Court of
                           New South Wales
                            Notice of Listing         PAIGE_00001908-
     D010      9/3/13
                                Case no.              PAIGE_00001909
                         2013/00245661 with
                                envelope                                       H
                         Email chain between
                          P. Paige, C. Conrad
                                                      PAIGE_00002952-
     D011      5/8/14      and I. Kleiman re:
                                                      PAIGE_00002953
                           Mailbox Renewal
                                Reminder                                       H
     D012                   WITHDRAWN
     D013                   WITHDRAWN
                         Letter to Palm Beach
                         County Courthouse -
                                                      KARP_00000020-
     D014     10/25/13    North Branch from
                                                      KARP_00000040
                         The Karp Law Firm
                            with attachments                                  R, H
                               D. Kleiman
                                                      KARP_00000096-
     D015     5/21/13      TransUnion credit
                                                      KARP_00000100
                                  report                                      R, H
                               Letter to B.
                          McSwain, Casa Rio
                          Homeowners' Sub-            KARP_00000159-
     D016     10/26/10
                            Association, Inc.         KARP_00000160
                         from The Karp Law
                                   Firm                                       R, H
                         Email chain between
                            K. Andreou, C.
                                                     KIMON_00000401-
     D017     4/29/13    Wright and multiple
                                                     KIMON_00000402
                             others re: Dave
                                Kleiman                                       R, H
                         D. Kleiman 2010 Tax         DKUHARCIK000001-
     D018      2010
                                 Return              DKUHARCIK000010           R
                         D. Kleiman 2011 Tax         DKUHARCIK000011-
     D019      2011
                                 Return              DKUHARCIK000023           R
                         Email to P. Paige, B.
     D020     4/29/13                                 PAIGE_00003509
                          Long, G. Kelley, C.                                 R, H

                                                 2
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    Exhibit    Date          Document                 Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                   Description                                    Objec-          on     ted
                                                                             tions       Objec-
                                                                                          tions
                         Bell, M. Shannon, J.
                         Hatchett, E. Robi, G.
                         Freemyer, P. Henry,
                              C. Wright, S.
                         Moulton, W. Marney,
                         B. Bell, B. Dean, K.
                             Andreou and G.
                             Kelley from C.
                            Conrad re: Dave
                                 Kleiman
     D021                   WITHDRAWN
     D022                   WITHDRAWN
     D023                   WITHDRAWN
     D024                   WITHDRAWN
     D025                   WITHDRAWN
     D026                   WITHDRAWN
     D027                   WITHDRAWN
                            Email chain with
                          attachment between
                                                       DEF_002212902-
     D028     5/26/06       C. Wright and R.
                                                        DEF_00212939
                         Radvanovsky re: And
                             another thing…                                   R, H
     D029                   WITHDRAWN
                         Email chain between
                            C. Wright and D.
     D030      6/8/10                                DEFAUS_00089140
                             Kleiman re: An
                                  update                                      R, H
                                Email with
                         attachment to V. Raj          DEF_00026615-
     D031     10/15/12
                           from C. Wright re:          DEF_00026628
                                  Travel                                      R, H
                            Certified Verified
                            Complaint, Wells
                                                      CERT_00000063-
     D032     8/16/13       Fargo Bank v. D.
                                                      CERT_00000087
                            Kleiman Case no.
                             2013CA013002                                     R, H
     D033                   WITHDRAWN
                          Computer Forensic
                                                     KLEIMAN_00182952-
     D034      2/3/12        LLC Articles of
                                                     KLEIMAN_00182953
                               Organization                                   R, H
                              Stamped Filed          KLEIMAN_00179597-
     D035     6/11/12
                                Articles of          KLEIMAN_00179602         R, H

                                                 3
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    Exhibit    Date         Document                  Bates No. / Source       Plaintiffs’   Ruling   Admit-
    Number                  Description                                         Objec-          on     ted
                                                                                 tions       Objec-
                                                                                              tions
                           Amedment to
                            Articles of
                          Organization for
                         Computer Forensic
                               LLC
                                                    http://search.sunbiz.org
                                                    /Inquiry/CorporationSe
                                                    arch/GetDocument?agg
                                                         regateId=flal-
                                                        l12000020457-
                                                     70db3a83-e142-4ce8-
     D036      3/5/13                                         b08f-
                                                    64567b596850&transa
                            2013 Limited            ctionId=l12000020457-
                         Liability Company           b49a44ab-6cd4-4cd1-
                          Annual Report fo                    b40a-
                         Computer Forensics          312bff296ec4&format
                                 LLC                       Type=PDF               R, H
                        Non-Party Computer
                           Forensics LLC's
                             Response to
                             Defendant's
                        Subpoena to Produce
                             Documents,
     D037     4/15/19
                           Information, or
                         Objects or to Permit
                            Inspection of
                         Premises in a Civil
                        Action Dated March
                              28, 2019                                             R
                        Motion to Compel IN
                         RE: Estate of David
     D038      8/3/17
                         A. Kleiman File no.
                               13-5060                                             R
                             Settlement
                        Agreement, Kleiman
                        v. Computer Forensic
     D039     2/27/18
                         LLC, C. Conrad and
                        P. Paige Case no. 50-
                            2016-013045                                            R
                             Email to M.
     D040     11/4/12                               KLEIMAN_00413435
                        Sheppard, D. Ostrom,                                       R

                                                4
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    Exhibit    Date         Document                 Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                  Description                                    Objec-          on     ted
                                                                            tions       Objec-
                                                                                         tions
                           J. Giarraputo, N.
                            Pham from D.
                          Kleiman re: US v.
                            Garcia - Expert
                           Email chain with
                         attachment between
                            D. Kleiman, C.          KLEIMAN_00071223-
     D041     1/30/13
                         Conrad and P. Paige        KLEIMAN_00071225
                        re: Question on costs
                            for a company                                     R
                        Email chain between
                             C. Wright, C.
                         Conrad, P. Paige, B.
                         Long, G. Kelley, M.
                        Shannon, J. Hatchett,
                                                     PAIGE_00003483-
     D042     4/29/13   E.Robi, G. Freemyer,
                                                     PAIGE_00003484
                        P. Henry, S. Moulton,
                         W. Marney, B. Bell,
                            B. Dean and K.
                          Andreou re: Dave
                               Kleiman                                        H
                        Email chain betwwen
                             C. Wright, C.
                         Conrad, P. Paige, B.
                         Long, G. Kelley, M.
                        Shannon, J. Hatchett,
                                                     PAIGE_00003415-
     D043     4/30/13   E.Robi, G. Freemyer,
                                                     PAIGE_00003416
                        P. Henry, S. Moulton,
                         W. Marney, B. Bell,
                            B. Dean and K.
                          Andreou re: Dave
                               Kleiman                                       R, H
                        Email chain between
                                                     PAIGE_00002763-
     D044     12/9/15     K. Andreou and P.
                                                     PAIGE_00002764
                          Paige re: Bitcoin?                                  H
                         Change to company
                                                    KLEIMAN_00004927-
     D045     4/24/14    details for Coin-Ech                               H, A,
                                                    KLEIMAN_00004928
                                Pty Ltd.                                    COM
                              Email with
                                                    KLEIMAN_00400106-
     D046     6/22/16     attachment from I.
                                                    KLEIMAN_00400107
                             Kleiman to I.                                    H


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    Exhibit    Date          Document                Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                   Description                                   Objec-          on     ted
                                                                            tions       Objec-
                                                                                         tions
                            Kleiman re: Doc
                           22.06.16 09:12:07
     D047                   WITHDRAWN
                          Docket Case IN RE:
                          David Alan Kleiman
     D048
                           Case no. 50-2013-
                               CP-005060                                     R, H
                         Letter to Palm Beach
                         County Tax Collector
     D049     8/30/13                                KARP_00000134
                          from The Karp Law
                                   Firm                                      R, H
                         Order for Payment of
                           Funds (testate) IN
     D050     1/21/14       RE: David Alan           KARP_00000081
                            Kleiman File no.
                           502013CP005060                                     R
                               Petition for
                               Subsequent
                           Administration IN
                                                     KARP_00000149-
     D051     1/29/16     RE: Estate of David
                                                     KARP_00000150
                           Alan Kleiman File
                                   No.
                           502013CP005060                                     R
                            Oath of Personal
                           Representative and
                            Designation and
                             Acceptance of
                                                     KARP_00000044-
     D052     1/29/16      Resident Agent IN
                                                     KARP_00000045
                          RE: Estate of David
                           Alan Kleiman File
                                   No.
                           502013CP005060                                     R
                           Letter to American
                            Home Mortgage
     D053     10/5/10                                KARP_00000161
                          Servicing Inc. from
                               D. Kleiman                                     R
                          Computer Forensics
                           LLC Profit & Loss
     D054     12/19/12                              KLEIMAN_00071500
                         January 1 - December
                                19, 2012                                     R, H
                          Computer Forensics
     D055     1/24/13                               KLEIMAN_00397321
                           LLC Profit & Loss                                 R, H

                                                6
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    Exhibit    Date         Document                 Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                  Description                                    Objec-          on     ted
                                                                            tions       Objec-
                                                                                         tions
                        January - December
                                 2012
                              Email with
                         attachment from D.
                            Kleiman to D.
                        Kuharcik, C. Conrad,        KLEIMAN_00397318-
     D056     1/31/13        P. Paige and           KLEIMAN_00039734
                        Computer Forensics                 4
                        LLC Accounting re:
                        Computer Forensics
                          LLC Accounting                                     R, H
                              Email with
                         attachment from D.
                            Kleiman to D.
                            Kuharcik and
                                                    KLEIMAN_00397845-
     D057     3/20/13   Computer Forensics
                                                    KLEIMAN_00397858
                        LLC Accounting re:
                        Computer Forensics
                         LLC Accounting -
                                1099s                                        R. H
                        Email to self from D.
                                                    KLEIMAN_00065362-
     D058     6/30/18      Kleiman re: Fw:
                                                    KLEIMAN_00065363
                             Balance alert                                    R
                          Email chain with
                        attachment between
                           D. Kleiman, C.           DEFAUS_00694544-
     D059     2/15/11
                        Wright and L. Wright        DEFAUS_00694550
                          re: Registration -
                                TTA1                                          H
     D060                 WITHDRAWN
                          Email chain with
                        attachment between
                             C. Wright, S.            DEF_01108419-
     D061      4/2/13
                          Matthews and R.             DEF_01108457
                        Watts re: FW: coin-
                                  ex                                          H
     D062                 WITHDRAWN
                            Consent order
     D063      9/1/13     acceptance dates            DEF_00029333
                               1/9/2013                                     H, A
     D064                 WITHDRAWN
     D065                 WITHDRAWN

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    Exhibit     Date           Document                  Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                     Description                                     Objec-          on     ted
                                                                                tions       Objec-
                                                                                             tions
                           Email chain between
                           U. Ng, C. Wright, R.
                                Watts and A.
                           Pedersen re: Official
     D066      3/18/15                                    DEF_00030159
                            2015 Annual Report
                             Notice for : W&K
                                Info Defense
                               Research LLC                                       H
              7/25/2017;   Letters to I. Kleiman,
              5/31/2011;     C. Wright and D.           KLEIMAN_00016650-
     D067
              5/31/2011;        Kleiman from            KLEIMAN_00016655
              5/31/2011     Homeland Security                                     H
     D068                     WITHDRAWN
     D069                     WITHDRAWN
     D070                     WITHDRAWN
                                 Email with
                            attachment from L.
                           Wright to D. Kleiman           DEF_00010360-
     D071      2/15/14
                             and C. Wright re:            DEF_00010377
                             GreyFog Revenant
                            Device information                                    H
                           Email to D. Kleiman
                            and L. Wright from
     D072       2/6/11                                  DEFAUS_00092734
                            C. Wright re: Idea -
                                   research                                       H
                           Email chain between
                               D. Kleiman, C.            DEFAUS_00694501-
     D073      2/15/11
                           Wright and L. Wright          DEFAUS_00694502
                           re: Link to R&D site                                   H
     D074                     WITHDRAWN
                              Email chain with
                            attachment between
                               D. Kleiman, C.              DEF_0009686-
     D075      2/16/11
                           Wright and L. Wright            DEF_00009695
                              re: Registration -
                                    TTA1                                          H
     D076                     WITHDRAWN
                                 Email with
                            attachment from D.            DEF_00009709-
     D077      2/16/11
                           Kleiman to C. Wright           DEF_00009712
                           and L. Wright re: Vet                                  H


                                                    8
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    Exhibit    Date         Document                Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                  Description                                   Objec-          on     ted
                                                                           tions       Objec-
                                                                                        tions
                           owned business
                             requirements
                        Email chain between
                            C. Wright, D.
                           Kleiman and L.
     D078      2/2/11                               DEFAUS_00092733
                          Wright re: [DHS
                         Cyber R&D Grants
                               $40MM]                                        H
     D079                 WITHDRAWN
                              Email with
                         attachment from C.
                                                    DEFAUS_00092834-
     D080     2/15/11   Wright to D. Kleiman        DEFAUS_00092897
                          and L. Wright re:
                              Registration                                   H
                              Email with
                         attachment from C.
                                                    DEFAUS_00092962-
     D081     2/15/11   Wright to D. Kleiman        DEFAUS_00093024
                          and L. Wright re:
                        Registration - TTA1                                  H
                        Email chain between
                            C. Wright, D.
                                                    DEFAUS_00093049-
     D082     2/16/11      Kleiman and L.           DEFAUS_00093052
                               Wright re:
                        Registration - TTA1                                  H
                        Email to D. Kleiman
                         and L. Wright from         DEFAUS_00093058-
     D083     2/16/11
                            C. Wright re:           DEFAUS_00093059
                               Abstract 2                                    H
                        Email chain between
                            C. Wright, D.           DEFAUS_00093060-
     D084     2/16/11
                           Kleiman and L.           DEFAUS_00093061
                        Wright re: Abstract 3                                H
                        Email to D. Kleiman
                         and L. Wright from          DEF_00018870-
     D085     2/16/11
                            C. Wright re:            DEF_00018871
                               Abstract 4                                    H
     D086                 WITHDRAWN
     D087                 WITHDRAWN
                        Email to I. Kleiman
                         from C. Wright re:         DEFAUS_00112868-
     D088     2/16/14
                         FW: Registration -         DEFAUS_00112873
                                TTA1                                         H

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    Exhibit     Date         Document                 Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                   Description                                    Objec-          on     ted
                                                                             tions       Objec-
                                                                                          tions
      D089                  WITHDRAWN
                         D. Kleiman Autopsy          KLEIMAN_00006307-
      D090     4/26/13
                                 report              KLEIMAN_00006313          R
                             D. Kleiman VA
      D091     7/22/19                               KLEIMAN_00401268
                          records Pages 1-999                                  R
                             D. Kleiman VA
      D092     7/22/19    records Pages 1000-        KLEIMAN_00402268
                                  1999                                         R
                             D. Kleiman VA
      D093     7/22/19    records Pages 2000-        KLEIMAN_00404766
                                  2999                                         R
                             D. Kleiman VA
      D094     7/22/19    records Pages 3000-        KLEIMAN_00405766
                                  3999                                         R
                             D. Kleiman VA
      D095     7/22/19    records Pages 4000-        KLEIMAN_00406766
                                  4999                                         R
                             D. Kleiman VA
      D096     7/22/19    records Pages 5000-        KLEIMAN_00407766
                                  5999                                         R
                             D. Kleiman VA
      D097     7/22/19    records Pages 6000-        KLEIMAN_00408766
                                  6999                                         R
                             D. Kleiman VA
      D098     7/22/19    records Pages 7000-        KLEIMAN_00409766
                                  7999                                         R
                             D. Kleiman VA
      D099     7/22/19    records Pages 8000-        KLEIMAN_00410766
                                  8999                                         R
                             D. Kleiman VA
      D100     7/22/19    records Pages 9000-        KLEIMAN_00411766
                                  9999                                         R
                             D. Kleiman VA
      D101     7/22/19   records Pages 10000-        KLEIMAN_00403268
                                 10999                                         R
                             D. Kleiman VA
      D102     7/22/19   records Pages 11000-        KLEIMAN_00404268
                                 11497                                         R
      D103                  WITHDRAWN
      D104                  WITHDRAWN
                          Email to S. Pearson          DEF_00213377-
      D105     8/9/06
                           from C. Wright re:          DEF_00213396           R, H

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    Exhibit     Date         Document             Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                   Description                                Objec-          on     ted
                                                                         tions       Objec-
                                                                                      tions
                              LLM - Paper
                         (Student #05028244)
                             Foundations of
                            Commercial Law
                             "The Electronic
                         Communications Act
                         2000, Which Endows
                         Electronic Signatures
                          With The Force Of
                             Law, Has Been
                          Stated To Represent
                          The Final Piece Of
                              The Jigsaw In
                               Creating An         DEF_00257472-
      D106     2/7/12
                               Enforceable         DEF_00257492
                          Electronic Contract.
                              However, The
                         Legislation May Not
                           Ensure That There
                            Are No Areas Of
                              Uncertainty In
                          Electronic Contract
                               Formation."
                            Ecommerce Law                                 R, H
                            Email chain with
                          attachment between       DEF_00335019-
      D107    12/22/07
                         C. Wright and C. Cid      DEF_00335088
                             re: GIAC Gold                                R, H
                               "Electronic
                            Contracting in an      DEF_00353292-
      D108     1/14/08
                          Insecure World" by       DEF_00353327
                                C. Wright                                 R, H
                         "Payments Providers
                         and Intermediaries as
                                                   DEF_01840155-
      D109     7/14/07   Defined in the Law of
                                                   DEF_01840162
                           the Internet" by C.
                                 Wright                                   R, H
                             "The Impact of
                         Internet Intermediary     DEF_01312345-
      D110     6/21/08
                             Liability" by C.      DEF_01312434
                                 Wright                                   R, H
      D111                  WITHDRAWN

                                             11
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    Exhibit     Date         Document             Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                   Description                                Objec-          on     ted
                                                                         tions       Objec-
                                                                                      tions
                              Certificate of
                            Registration for
                          "Bitcoin: A Peer-to-
                         Peer Electronic Cash      DEF_01515827-
      D112     4/11/19
                           System" 2008 and        DEF_01515827
                              Certificate of
                            Registration for
                             "Bitcoin" 2009                                H
                          C. Wright Master of
                              Management
                              (Information
      D113     5/3/06                              DEF_01515878
                           Technology) from
                              Charles Sturt
                                University                                 H
                          C. Wright Master of
                            Networking and
                                 System
      D114     4/8/05                              DEF_01515879
                          Administration from
                              Charles Sturt
                                University                                 H
                         C. Wright CompTIA
      D115                      Security+          DEF_01515891
                               certification                               H
                          C. Wright Master of
                             Statistics from       DEF_01515937-
      D116     5/23/16
                              University of        DEF_01515940
                                Newcastle                                  H
                          C. Wright Master of
                          Science Information
      D117     9/21/12   Security Management       DEF_01515947
                          degree from SANS
                         Technology Institute                              H
                          C. Wright Master of
                          Science Information
      D118     6/28/12   Security Engineering      DEF_01515948
                          degree from SANS
                         Technology Institute                              H
                          C. Wright Statement
                         of Academic Record        DEF_01515951-
      D119     5/23/16
                              for Master of        DEF_01515954
                           Statistics from The                             H


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    Exhibit     Date          Document                  Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                    Description                                     Objec-          on     ted
                                                                               tions       Objec-
                                                                                            tions
                              University of
                                Newcastle
      D120                  WITHDRAWN
                             C. Wright 2013
                                                         DEF_01492450-
      D121      2013      Australian Tax return
                                                         DEF_01492481
                             for individuals                                     H
      D122                  WITHDRAWN
      D123                  WITHDRAWN
      D124                  WITHDRAWN
      D125                  WITHDRAWN
      D126                  WITHDRAWN
      D127                  WITHDRAWN
      D128                  WITHDRAWN
      D129                  WITHDRAWN
      D130                  WITHDRAWN
      D131                  WITHDRAWN
      D132                  WITHDRAWN
      D133                  WITHDRAWN
      D134                  WITHDRAWN
      D135                  WITHDRAWN
      D136                  WITHDRAWN
      D137                  WITHDRAWN
                          Plaintiffs' Disclosure
                          of all Repositories of
                          Potentially Relevant
      D138      3/7/19     ESI Pursuant to the
                            Parties Stipulated
                          Discovery Plan Filed
                            February 5, 2019                                   H, R
              5/1/2009-                                  DEF_01638686-       H, R, IC,
      D139
              6/1/2009     Multiple receipts             DEF_01638767         COM
                           "The Developer's
                         Guide to Debugging"             DEF_00247189-
      D140       2008
                         by Grotker, Holtman,            DEF_00247420
                          Keding and Wloka                                    R, CML
               7/1/2008- Wright: Profit & Loss           DEF_1634150-
      D141
               6/30/2009   Statement - 2009               DEF_1634153           H, R
              12/17/2008    Multiple 2008                DEF_01638858-
      D142
              -1/31/2009        receipts                 DEF_01638939          H, R
                                                         DEF_01638941-       H, R, IC,
      D143      2008
                            Multiple receipts            DEF_01639012         COM


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    Number                   Description                                     Objec-          on     ted
                                                                              tions       Objec-
                                                                                           tions
                                                        DEF_00168946-
      D144
                           C. Wright resume             DEF_00168954           H
                          C. Wright writings           DEFHC_01047291-      H, R, IC,
      D145
                               and notes               DEFHC_01047350        COM
                          C. Wright writings           DEFHC_01047368-      H, R, IC,
      D146
                               and notes               DEFHC_01047419        COM
                          C. Wright writings           DEFHC_01047457-      H, R, IC,
      D147
                               and notes               DEFHC_01047461        COM
                          C. Wright writings           DEFHC_01047462-      H, R, IC,
      D148
                               and notes               DEFHC_01047478        COM
                          C. Wright writings           DEFHC_01047859-      H, R, IC,
      D149
                               and notes               DEFHC_01047901        COM
                          C. Wright writings           DEFHC_01047934-      H, R, IC,
      D150
                               and notes               DEFHC_01047940        COM
      D151                 WITHDRAWN
                          C. Wright writings           DEFHC_01049410-      H, R, IC,
      D152
                               and notes               DEFHC_01049421        COM
                          C. Wright writings           DEFHC_01049649-      H, R, IC,
      D153
                               and notes               DEFHC_01049662        COM
                          C. Wright writings           DEFHC_01049750-      H, R, IC,
      D154
                               and notes               DEFHC_01049786        COM
                          C. Wright writings           DEFHC_01049787-      H, R, IC,
      D155
                               and notes               DEFHC_01049791        COM
      D156                 WITHDRAWN
      D157                 WITHDRAWN
                         Email chain between
                            D. Kleiman, S.            KLEIMAN_00065715-
      D158     12/3/12
                         Dorsey and P. Paige          KLEIMAN_00065716
                              re: October                                      H, R
                           Email to P. Paige
                                                      KLEIMAN_00068025-
      D159     3/11/13   from D. Kleiman re:
                                                      KLEIMAN_00068028
                              FW: WPTV                                         H, R
                         Email chain between
                         C. Wright, L. Wright
                          and M. Sulema re:
                          FW: Status update
                           with attachments             DEF_00294371-
      D160     7/24/09
                           various computer             DEF_00295009
                         code files and scrips
                          in C++, VS, XML,
                            and other code
                               languages                                    H, R, UP

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    Number                   Description                                 Objec-          on     ted
                                                                          tions       Objec-
                                                                                       tions
                            Email chain with
                         attachment between
                            C. Wright and D.
                                                   DEFAUS_01732182-
      D161     3/12/08         Kleiman re:
                                                   DEFAUS_01732276
                          Defamation and the
                         difficulties of law on
                             the Internet.aig                              H
                          C. Wright writings       DEFHC_01050338-       H, IC,
      D162     Aug-07
                                and notes           DEFHC_0150415        COM
                          C. Wright writings       DEFHC_01050416-      H, R, IC,
      D163
                                and notes          DEFHC_01050423        COM
                              BOD Meeting
      D164     Aug-07    Minutes dated August      DEFHC_01050442       H, R, IC,
                                  2007                                   COM
                           TimeChain v0.0.2        DEFHC_01050443-
      D165      2008
                                  Alpha            DEFHC_01050444          H, R
                          C. Wright writings       DEFHC_01050472-
      D166
                                and notes          DEFHC_01050479          H, R
                          C. Wright writings       DEFHC_01050480-
      D167
                                and notes          DEFHC_01050492         H, R
                          C. Wright writings       DEFHC_01050493-      H, R, IC,
      D168
                                and notes          DEFHC_01050563        COM
                          C. Wright writings       DEFHC_01050564-
      D169
                                and notes          DEFHC_01050581         A, H
                          C. Wright writings       DEFHC_01050582-
      D170
                                and notes          DEFHC_01050590          H, R
                          Email to C. Wright
      D171     8/18/09   from D. Kleiman re:       DEFAUS_00690895
                                  Hello                                     H
                               Petition for
                              Disposition of
                            Personal Property
                                 Without
                             Administration
      D172      2013
                          (verified statement)
                            IN RE: Estate of
                         David Alan Kleiman
                                 File No.
                           502013CP005060
                         Email to D. Kleiman
                                                   DEFAUS_00080312-
      D173     1/31/13     from C. Wright re:
                                                   DEFAUS_00080715
                               Long time                                    H

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    Exhibit     Date         Document               Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                   Description                                  Objec-          on     ted
                                                                           tions       Objec-
                                                                                        tions
                         Email chain between
      D174     2/2/13      D. Kleiman and C.       DEFAUS_00101652
                         Wright re: Long time                                H
                            Email chain with
                          attachment between
                           D. Kleiman and C.
                                                   DEFAUS_00688785-
      D175     6/3/08     Wright re: An ethics
                                                   DEFAUS_00688789
                         issue that needs to be
                         investigated (ISACA
                           Branch President)                                 H
                         Email chain between
                            C. Wright and D.       DEFAUS_00098039-
      D176     5/15/12
                          Kleiman re: Correct      DEFAUS_00098040
                              Contact info                                  H, R
                         Email chain between
                           D. Kleiman and C.       DEFAUS_00100812-
      D177    10/21/12
                            Wright re: IFIP-       DEFAUS_00100814
                              WG11.9 CFP                                     H
                         Email to L. Kleiman
                          and I. Kleiman from
      D178    10/23/07                             KLEIMAN_00027932
                         D. Kleiman re: I need
                            your help please                                H, R
                          Email to I. Kleiman
                          from D. Kleiman re:
      D179     5/6/09                              KLEIMAN_00027940
                            Better buy some
                              twitter stock                                 H, R
                          Email to I. Kleiman
                                   and
      D180    11/27/09   "lureg8@yahoo.com         KLEIMAN_00034836
                          from D. Kleiman re:
                         Here is your stock tip                             H, R
                          Email to I. Kleiman
                          from D. Kleiman re:
      D181     1/22/10     Bing search engine      KLEIMAN_00034835
                         on Apple's iPhones as
                                 default                                    H, R
                          Email to I. Kleiman
                          from D. Kleiman re:
      D182     3/9/10                              KLEIMAN_00034834
                            Quoted In Men's
                            Health Magazine                                 H, R



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    Exhibit     Date         Document               Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                   Description                                  Objec-          on     ted
                                                                           tions       Objec-
                                                                                        tions
                          Email to I. Kleiman
      D183     5/22/10    from D. Kleiman re:      KLEIMAN_00034829
                                   video                                    H, R
                          C. Wright Master of
                                Laws with
                            Commendation in
                               International       GAVIN_00000211-
      D184     5/15/08
                            Commercial Law         GAVIN_00000212
                           from University of
                         Northumbria at New
                                  Castle                                    H, R
                            Email chain with
                          attachment between
                         C. Wright, R. Watts,
                                                   DEFAUS_00672796-
      D185     10/3/13   V. Raj, J. Chesher re:
                                                   DEFAUS_00672803
                          AAT matter: Wright
                            v FCT - executed
                             42C agreement                                  H, R
                         Palm Beach Sheriff's
                         Office Informational
      D186     8/13/06
                         report on D. Kleiman                             H, R, A,
                              by T. Wright                                  UP
                             "C++ How To
      D187      2005     Program, 5th Edition        DEF_01840307
                              (2005)" Joliet                               CML
                           "C++ For Business
      D188      2005       Programming, 2nd          DEF_01840311
                         Edition (2005)" Joliet                            CML
                           "C++ In a Nutshell
      D189      2003                                 DEF_01840312
                              (2003)" Joliet                               CML
                              "Professional
                              ADO.NET 2:
                           Programming with
                           SQL Server 2005,
                         Oracle, and MySQL"          DEF_00506067-
      D190      2005
                           by W. McClure, G.         DEF_00506710
                          Beamer, J. Croft IV,
                         A. Little, B. Ryan, P.
                         Winstanley, D. Yack
                             and J. Zongker                                CML
                          "Professional Visual       DEF_01124818-         H, R,
      D191      2005
                           Studio 2005" by A.        DEF_01125732          CML

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    Exhibit     Date         Document               Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                   Description                                  Objec-          on     ted
                                                                           tions       Objec-
                                                                                        tions
                             Parsons and N.
                                Randolph
                            Email chain with
                          attachment between
                                                   KLEIMAN_00396311
                             D. Kleiman, C.
      D192     2/13/13                             _KLEIMAN_0039634
                          Conrad and P. Paige
                                                          5
                         re: CFLLC Operation
                               Agreement                                    H, R
                          Plaintiffs' Privilege
      D193     2/18/20
                                  Log                                    H, R, UP
                            Minute book for
      D194     5/1/13     Coin-Exch Pty Ltd         DEFHC_00001050
                             dated 5/1/2013                                  H
                             Application for
                         shares for C01n Exch
      D195     5/1/13                               DEFHC_00001113
                             Pty Ltd. Dated
                                5/1/2013                                     H
      D196                  WITHDRAWN
      D197                  WITHDRAWN
      D198                  WITHDRAWN
      D199                  WITHDRAWN
      D200                  WITHDRAWN
      D201                  WITHDRAWN
      D202                  WITHDRAWN
      D203                  WITHDRAWN
      D204                  WITHDRAWN
      D205                  WITHDRAWN
      D206                  WITHDRAWN
      D207                  WITHDRAWN
      D208                  WITHDRAWN
      D209                  WITHDRAWN
      D210                 "WITHDRAWN
      D211                  WITHDRAWN
      D212                  WITHDRAWN
      D213                  WITHDRAWN
      D214                  WITHDRAWN
      D215                  WITHDRAWN
      D216                  WITHDRAWN
      D217                  WITHDRAWN
      D218                  WITHDRAWN
      D219                  WITHDRAWN

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    Exhibit     Date         Document             Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                   Description                                Objec-          on     ted
                                                                         tions       Objec-
                                                                                      tions
      D220                 WITHDRAWN
      D221                 WITHDRAWN
      D222                 WITHDRAWN
      D223                 WITHDRAWN
      D224                 WITHDRAWN
      D225                 WITHDRAWN
      D226                 WITHDRAWN
      D227                 WITHDRAWN
      D228                 WITHDRAWN
      D229                 WITHDRAWN
      D230                 WITHDRAWN
      D231                 WITHDRAWN
      D232                 WITHDRAWN
      D233                 WITHDRAWN
      D234                 WITHDRAWN
      D235                 WITHDRAWN
      D236                 WITHDRAWN
      D237                 WITHDRAWN
      D238                 WITHDRAWN
      D239                 WITHDRAWN
      D240                 WITHDRAWN
      D241                 WITHDRAWN
      D242                 WITHDRAWN
      D243                 WITHDRAWN
      D244                 WITHDRAWN
                         Email chain between
      D245    10/14/11     C. Wright and D.        DEF_00009073
                         Kleiman re: A paper                               H
                         Email chain between
      D246     3/18/10    D. Kleiman and C.       DEFAUS_00692822
                           Wright re: So…                                  H
                         Email chain between
                          D. Kleiman and C.
      D247    10/17/11   Wright and other re:     DEFAUS_00697938
                          Using Checklists to
                         make better best.docx                             H
                         Email chain between
                          D. Kleiman and C.
      D248     5/24/10                            DEFAUS_00089054
                           Wright re: Some
                             more reading                                  H



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    Exhibit     Date         Document              Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                   Description                                 Objec-          on     ted
                                                                          tions       Objec-
                                                                                       tions
                         Email chain between
                              D. Kleiman, C.
      D249     3/15/10         Wright and R.      DEFAUS_00692760
                          Radvanovsky re: A
                                   paper                                    H
                         Email chain between
                           D. Kleiman and C.      DEFAUS_00694769-
      D250     3/1/11
                          Wright re: BAA 11-      DEFAUS_00694770
                                     02                                     H
                                Email with
                             attachment to D.
                                                  DEFAUS_00087391-
      D251     4/13/10      Kleiman from C.
                                                  DEFAUS_00087403
                             Wright re: Some
                              reading for you                               H
                         Email chain between
                           I. Kleiman and the
                          Florida Division of     KLEIMAN_00002693-
      D252     7/3/15
                             Corporations re:      KLEIMAN00002694
                                 articles of
                               incorporation                            R, H, MIL
                         Email chain between
                            I. Kleiman and L.
      D253     4/15/11                            KLEIMAN_00002993
                             Lang re: david's
                                  address                                   R
      D254                   WITHDRAWN
                         Email chain between
                         I. Kleiman and Astro
      D255     8/19/13                            KLEIMAN_00050638
                         Air Inc re: Thank you
                           For Contacting Us                             R, MIL
                         Email chain between
                            I. Kleiman and T.
                          Miller re: EOI case
                                    ref #
      D256     7/27/15                            KLEIMAN_00298877
                            362215/Australia
                                case ref #1-
                         6B0K5GO - email 2
                            of x yes can open                               R
                          Email to I. Kleiman
                           from Craigslist re:
      D257     7/17/13                            KLEIMAN_00366588
                            Post/Edit/Delete :
                           "Quickie Triumph                              R, MIL


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    Exhibit     Date         Document              Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                   Description                                 Objec-          on     ted
                                                                          tions       Objec-
                                                                                       tions
                         Wheelchair" (general
                          for sale - by owner)
                          Email to I. Kleiman
                            from P. Paige re:
      D258     5/1/14                             KLEIMAN_00397384
                            Mailbox Renewal
                                Reminder                                R, H, UP
                         Email to A. Sommer
                          and I. Kleiman from
                                                  KLEIMAN_00397662-
      D259     5/19/14     J. McKeon re: The
                                                  KLEIMAN_00397663
                            Karp Law Firm -
                             Kleiman Matter                             R, H, UP
                            Email to T. Miller
                          from I. Kleiman re:
                              EOI case ref #
      D260     7/22/15      362215/Australia      KLEIMAN_00184482
                               case ref #1-
                         6B0K5GO follow-up
                             and please email                               R
      D261                  WITHDRAWN
                            Corsair Survivor
                            Stealth TD Black
                            USB thumbdrive.
      D262     4/26/13
                                  Serial:
                         DCA46D83A46D614
                                     E                                    R, UP
                            Corsair Survivor
                         Stealth TD Gray Blue
                            USB thumbdrive.
      D263     4/26/13
                                  Serial:
                         68A87A90A87A5C8
                                     E                                    R, UP
                            Corsair Survivor
                             Stealth TD Gray
                               Orange USB
      D264     4/26/13
                           thumbdrive. Serial:
                         D8B0BD66B0BDBA
                                     E                                    R, UP
                            CEIC 2009" 2GB
                            USB thumbdrive.
      D265     4/26/13
                         Serial:780495570495
                                   18E8                                   R, UP


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    Number                   Description                                Objec-          on     ted
                                                                         tions       Objec-
                                                                                      tions
                            Corsair Survivor
                         Stealth TD Gray Blue
      D266     4/26/13
                           USB thumbdrive.
                          Serial: 8AFB-1741                              R, UP
                           IACIS 2GB USB
      D267     4/26/13    thumbdrive. Serial:
                              0B10-7EDF                                  R, UP
                               Key USB
      D268     4/26/13    thumbdrive. Serial:
                             7004-OABA                                   R, UP
                         Microvault Tiny USB
      D269     4/26/13    thumbdrive. Serial:
                          503434503434374                                R, UP
                            SanDisk Cruzer
                              Micro USB
      D270     4/26/13
                          thumbdrive. Serial:
                         F892E54992E50CC6                                R, UP
                            Western Digital
                                 WDC
                           WD7500BPVT-0
      D271     4/26/13
                           hard drive. Serial:
                                  WD-
                           WX71A20K2955                                  R, UP
                                Seagate
                          ST9500325AS hard
      D272     4/26/13
                             drive. Serial:
                              5VE1B6VT                                   R, UP
                          Hitachi HTS72101
      D273     4/26/13     hard drive. Serial:
                         MPCZN2Y0GS007H                                  R, UP
                            Western Digital
                                 WDC
                           WD3200BEKT-2
      D274     4/26/13
                           hard drive. Serial:
                                  WD-
                          WXMY08HR0801                                   R, UP
                                Seagate
                          ST9500420AS hard
      D275     4/26/13
                             drive. Serial:
                              5VJ07GCY                                   R, UP
                         HTC T7373X Touch
      D276     4/26/13
                                  Pro2                                   R, UP

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    Number                   Description                                  Objec-          on     ted
                                                                           tions       Objec-
                                                                                        tions
      D277                   WITHDRAWN
                                Email with
                             attachment to R.
                         Watts, C. Wright and      DEFAUS_01566714-
      D278     7/17/14
                              J. Ball from C.       DEFAUS_0156734
                         Gordon re: Hotwire -
                            fees and expenses                               R, H
                          Email chain between
                             N. Desmond, T.
                                                   DEFAUS_00630271-
      D279     7/31/14   Bauer, M. Zhu and D.
                                                   DEFAUS_00630276
                         Russell re: Images for
                                  laptops                                   R, H
                                Email with
                             attachment to C.      DEFAUS_01860803-
                         Wright, R. Watts and      DEFAUS_01860805
      D280     8/15/14      C. Gordon from J.
                            Ball re: Hotwire -     DEFAUS_01567174-
                         Deed Administrators'      DEFAUS_01567185
                                    fees                                    R, H
      D281                   WITHDRAWN
                          Email chain between
                                                   KLEIMAN_00000656-
      D282     2/15/14       C. Wright and I.
                                                   KLEIMAN_00000658
                            Kleiman re: Dave                                 H
      D283                   WITHDRAWN
                          Email chain between
                         I. Kleiman, C. Wright     KLEIMAN_00004929-
      D284     2/15/14
                           and U. Nguyen re:       KLEIMAN_00004932
                                   Dave                                      H
                          Email chain between
                                                   KLEIMAN_00005177-
      D285     2/16/14      I. Kleiman and C.
                                                    KLEIMAN_0005186
                             Wright re: Dave                                 H
      D286                   WITHDRAWN
      D287                   WITHDRAWN
      D288                   WITHDRAWN
                          Email chain between
                         C. Wright, I. Kleiman     KLEIMAN_00278145-
      D289     3/11/14
                           and A. Damoka re:       KLEIMAN_00278146
                                   Letter                                R, H, UP
      D290                   WITHDRAWN
                          Email to I. Kleiman
      D291     3/28/14     from C. Wright re:      KLEIMAN_00278208
                                   Dave                                    H, UP

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    Number                   Description                                 Objec-          on     ted
                                                                          tions       Objec-
                                                                                       tions
      D292                  WITHDRAWN
                         Email chain between
                            C. Wright and I.
      D293     5/4/14                             KLEIMAN_00000415
                               Kleiman re:
                             conference call                            R, H, UP
                         Email chain between
                         C. Wright, I. Kleiman
      D294     5/12/14                            KLEIMAN_00176948
                          and A. Sommer re:
                                    ato                                 R, H, UP
                               Email with
                            attachment to I.
                         Kleiman, A. Sommer         DEF_01367411-
      D295     5/14/14
                         and R. Watts from C.       DEF_01367412
                           Wright re: Joe and
                                 Andrew                                    R, H
      D296                  WITHDRAWN
                               Email with
                            attachment to R.
                           Watts, A. McCabe
                          and B. Kogan from         DEF_01373372-
      D297     4/30/14
                             A. McEvoy re:          DEF_01373373
                          Hotwire Preemptive
                            Intelligence Pty
                                 Limited                                   R, H
                         Email chain between
                          D. Bailey, R. Watts,
                                                    DEF_01915075-
      D298     7/24/14   C. Gordon and J. Ball
                                                    DEF_01915076
                             re: issues with
                                Ecowize                                    R, H
                          "Human Action: A
                               Treatise on          DEF_01314149-
      D299     12/4/08
                           Economics" by L.         DEF_01315078          R, H,
                               von Mises                                  CML
                          Email to C. Wright
                          from ScienceDirect
                                                  DEFAUS_01545183-
      D300     6/10/09    Message Center re:
                                                  DEFAUS_01545184
                             ScienceDirect:
                          Document Purchase                                 R
                            D. Kleiman IRS
                                                  KLEIMAN_00485473-
      D301    12/31/09    Account Transcript
                                                  KLEIMAN_00485474
                                   2009                                    UP


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    Exhibit     Date         Document                Bates No. / Source    Plaintiffs’   Ruling   Admit-
    Number                   Description                                    Objec-          on     ted
                                                                             tions       Objec-
                                                                                          tions
                           D. Kleiman IRS
                                                    KLEIMAN_00485475-
      D302    12/31/10    Account Transcript
                                                    KLEIMAN_00485476
                                2010                                          UP
                           D. Kleiman IRS
                                                    KLEIMAN_00485477-
      D303    12/31/11    Account Transcript
                                                    KLEIMAN_00485478
                                2011                                          UP
                                                https://www.semanticsc
                                                   holar.org/paper/A-
                            "A Preamble Into         Preamble-Into-
                            Aligning Systems       Aligning-Systems-
      D304     8/24/11
                             Engineering and        Engineering-and-
                          Information Security Wright/fc603d86b06aa
                         Risk Measures" by C. 57263fa318c6dcb77a6            R, H,
                                  Wright                 098f0c5c            CML
                                                https://www.researchga
                            "Of Black Swans,    te.net/publication/2595
                         Platypii and Bunyips: 77750_Of_Black_Swa
      D305     Sep-11        The outlier and    ns_Platypii_and_Bunyi
                            normal incident in  ps_The_outlier_and_no
                         risk management" by rmal_incident_in_risk_          R, H,
                         C. Wright and T. Zia         management             CML
                            "Modeling system    https://researchoutput.c
                          audit as a sequential su.edu.au/en/publicatio
                         test with discovery as  ns/modeling-system-
      D306     Dec-11
                              a failure time     audit-as-a-sequential-      R, H,
                             endpoint" by C.    test-with-discovery-as-      COM,
                            Wright and T. Zia              a-fa              CML
                                                 http://infosecisland.co
                           "SCADA: Air Gaps       m/blogview/16770-          R, H,
      D307     9/26/11
                          Do Not Exist" by C. SCADA-Air-Gaps-Do-             COM,
                                  Wright             Not-Exist.html          CML
                              "A quantative
                             analysis into the
                                                https://dl.acm.org/doi/1
                              economics of
      D308     Jun-11                           0.5555/2023430.20234
                           correcting software                               R, H,
                                                            59
                           bugs" by C. Wright                                COM,
                                and T. Zia                                   CML
                          Calendar invite to C.
                          Wright, S. Savanah,       DEF_00043777-
      D309     8/11/14
                         R. Watts and A. Ellis      DEF_00043778
                            from A. Pedersen                                  R, H


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    Number                   Description                                     Objec-          on     ted
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                              Email to V.
                          Magnusson from C.
                                                     DEF_00235674-
      D310     9/4/14    Wright re: FW: Grays
                                                     DEF_00235675
                          - Your Paid Invoice                                 R, H,
                              2088662-26                                      CML
                              Email to V.
                          Magnusson from C.
                                                     DEF_00235669-
      D311     9/8/14    Wright re: FW: Grays
                                                     DEF_00235671
                          - Your Paid Invoice                                 R, H,
                              2088838-22                                      CML
                              Email to V.
                          Magnusson from C.
                                                  DEFAUS_00634339-
      D312     9/12/14      Wright re: Fwd:
                                                  DEFAUS_00634342
                           Grays - Your Paid                                  R, H,
                          Invoice 2088839-25                                  CML
                              Email to V.
                          Magnusson from C.
                            Wright re: FW:         DEFHC_01052918-
      D313     9/18/14
                            Receipt for your       DEFHC_01052919
                         payment to Systemax                                  R, H,
                         Technologies Pty Ltd                                 CML
                              Email to V.
                          Magnusson from C.
                                                  DEFAUS_00710350-
      D314    11/26/14   Wright re: FW: Grays
                                                  DEFAUS_00710351
                          - Your Paid Invoice                                 R, H,
                              5011074-61                                      CML
      D315                  WITHDRAWN
                                                  https://www.sciencedir
                               Journal of         ect.com/journal/journal
      D316     6/5/07    Multivariate Analysis        -of-multivariate-       R, H,
                          by M. Hallin and D.     analysis/vol/100/issue/     COM,
                              Paindaveine                    3                CML
                         Inventory Journal for
      D317     8/4/09    Wright International        DEF_01924299
                            Investments Ltd                                    R, H
                          Agreement between
                             C. Wright and        DEFAUS_01584851-
      D318     1/30/09
                         Information Defense      DEFAUS_01584854
                                Pty Ltd                                         H
                         Email chain between
                                                     DEF_00005865-
      D319     3/12/08     D. Kleiman and C.
                                                     DEF_00005871
                               Wright re:                                       H

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                          Defamation and the
                         difficulties of law on
                              the Internet
                            Sale Agreement
                         between Information
                                                    DEF_00717951-
      D320     3/1/10    Defense Pty Ltd and
                                                    DEF_00717975
                         L. Wright/Cloudcroft
                                 Pty Ltd                                   R, H
      D321                 WITHDRAWN
      D322                 WITHDRAWN
                            Minute book for
      D323     3/12/14                              DEF_00027379
                          Coin-Exch Pty Ltd                               H, UP
      D324                 WITHDRAWN
      D325                 WITHDRAWN
                               Email with
                           attachment to D.
                            Kleiman and R.          DEF_01281884-
      D326     4/18/10
                         Radvanovsky from C.        DEF_01281940
                         Wright re: Papers so
                                   far.                                  H, CML
                         Graysonline.com Tax
      D327     7/2/10                               DEF_00292529
                          Invoice 2100448-1                              R, CML
                               Email with
                           attachment to C.
                                                    DEF_00292541-
      D328     7/20/10      Wright from L.
                                                    DEF_00292543
                           Hoogvliet re: HT
                            Order 3839731                                   R
                         Email chain between
                           C. Wright and D.
      D329     1/25/09                              DEF_00022188
                           Kleiman re: Next
                                  post                                      H
                         Email chain between
                            C. Wright ad D.
                           Kleiman re: CFS
      D330     9/25/09                              DEF_00015988
                            09/October 5-6
                                Updated
                         Speaker/Session List                               H
                         Email chain between
                          D. Kleiman and C.         DEF_00005374-
      D331     1/6/09
                           Wright re: Happy         DEF_00005375
                                new year                                    H


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    Number                   Description                                      Objec-          on     ted
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                         Email chain between
                                                       DEFAUS_00686738-
      D332     12/4/07     C. Wright and D.
                                                       DEFAUS_00686752
                         Kleiman re: Question                                    H
                         Email chain between
                           C. Wright and D.
                           Kleiman re: [CCE]           DEFAUS_00687547-
      D333     2/8/08
                           quick question re:          DEFAUS_00687551
                           imaging metrics -
                             imaging speed                                       H
                         Email chain between
                           C. Wright and D.
                                                       DEFAUS_00687779-
      D334     2/23/08     Kleiman re: [CCE]
                                                           00687785
                             RE: PI License
                                 Debate                                          H
                         Email chain between
                           C. Wright and D.
                            Kleiman re: FW:            DEFAUS_00688405 -
      D335     4/22/08
                           Authorship offer:           DEFAUS_00688424
                         (ISC) 2 Press Series -
                                 ISSMP                                           H
                         Email chain between
                            D. Kleiman, M.
                             Himebaugh C.
                         Wright, R. O'Hanley,          DEFAUS_00688434 -
      D336     4/22/08
                            H. Tipton and K.           DEFAUS_00688454
                         Henry re: Authorship
                          offer: (ISC) 2 Press
                            Series - ISSMP                                       H
                         Email chain between
                           C. Wright and D.
      D337     4/24/08                                 DEFAUS_00082231
                            Kleiman re: On
                              Another note                                       H
                         Email chain between
                         C. Wright, "Shyaam"
                          and D. Kleiman re:
                           FW: CFP - Fourth
                                                       DEFAUS_00083678-
      D338     6/5/08         International
                                                       DEFAUS_00083680
                             Conference on
                         Information Systems
                            Security (ICISS
                                  2008)                                          H


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                             HYDERABAD
                                  INDIA
                         Email to D. Kleiman,
                             S. Northcutt, B.
                           Wright, E. Sturnick,
                         "dsvoboda@sans.edu,
                         " A. Paller, J. Pike, E.
                          Carroll, M. Hofman,
                           B. Radvanovsky, G.        DEFAUS_0068860-
      D339     5/20/08
                                  Byrne,             DEFAUS_00688661
                          "chamby@giac.org"
                            and "giac-eth ics-
                                 council-
                         bouncesIist.sans.org"
                           from C. Wright re:
                             Tooting the horn                                 H
                           Email to C. Wright
      D340     6/17/08    from D. Kleiman re:        DEFAUS_00688843
                              My availability                                 H
                          Email chain between
                             C. Wright and D.
                         Kleiman re: An ethics        DEF_00006803-
      D341     6/23/08
                         issue that needs to be        DEF_0006806
                          investigated (ISACA
                            Branch President)                                R, H
                           Email to I. Kleiman
                           from C. Wright re:
                                                     DEFAUS_00083799-
      D342     6/14/08        FW: I will start
                                                     DEFAUS_00083801
                            ending framework
                                   soon                                      R, H
                          Email to D. Kleiman
      D343     2/13/11     from C. Wright re:        DEFAUS_00092786
                          FW: American R&D                                   R, H
                          Email chain between
      D344    11/11/10       C. Wright and D.        DEFAUS_00694074
                             Kleiman re: Hey                              H, COM
                          Email chain between
                             C. Wright and D.
                                                     DEFAUS_00089113-
      D345     6/4/10           Kleiman re:
                                                     DEFAUS_00089116
                            Checkpoint smart
                              defense as IPS                                 R, H


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                                                                           tions       Objec-
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                         Email chain between
                              D. Kleiman, C.
                         Wright, and others re:      DEF_00008537-
      D346     1/18/09
                          RE: [HTCC] Secure          DEF_00008538
                            deletion: a single
                          overwrite will do it                              R, H
                         Email to D. Kleiman
      D347     3/2/09      from C. Wright re:       DEFAUS_00084260
                                Next Week                                   R, H
                          Email to C. Wright
      D348     3/9/09    from D. Kleiman re:        DEFAUS_00689000
                                 Welcome!                                    R
                          Email to C. Wright
      D349     3/11/09   from D. Kleiman re:        DEFAUS_00689019
                                Restaurants                                  R
                            Email chain with
                          attachment between
                               C. Wright, D.
                          Kleiman and others       DEFAUS_00689211 -
      D350     4/18/09
                         re: RE: [CCE] Event       DEFAUS_00689215
                             viewer (Parsing)
                               Attachments:
                              ATT01534.txt                                  R, H
                         Email chain between
                              D. Kleiman, C.       DEFAUS_006909633 -
      D351     7/17/09
                         Wright, and others re:    DEFAUS_006909634
                         RE: [CCE] DD gurus                                 R, H
                         Email to D. Kleiman
      D352     3/17/10     from C. Wright re:       DEFAUS_00690943
                                   SO...                                     H
                                Email with
                             attachment to D.
                             Kleiman and B.
                         Radvanovsky from C.       DEFAUS_00087447 -
      D353     4/18/10
                             Wright re: Some       DEFAUS_00087461
                            more readings for
                           you. Attachments:
                            IWSEC2010a.pdf                                H, CML
                         Email chain between
                           D. Kleiman and C.
      D354     4/19/10                              DEFAUS_00693293
                              Wright re: RE:
                               Papers so far.                                H

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    Number                   Description                               Objec-          on     ted
                                                                        tions       Objec-
                                                                                     tions
                         Email chain between
                          D. Kleiman and C.
      D355    10/24/08                            DEF_00005570
                           Wright re: RE: So
                           what do you think                              H
                         Email chain between
                           C. Wright and D.
      D356    10/24/08                            DEF_00008181
                         Kleiman re: RE: Just
                                 a draft                                  H
                         Email chain between
                                                  DEF_00006747-
      D357     7/17/08    D. Kleiman and C.
                                                  DEF_00006748
                                 Wright                                   H
      D358                 WITHDRAWN
                         Email chain between
                            D. Kleiman, C.        DEF_00032566-
      D359     7/20/08
                            Wright, and S.        DEF_00032592
                                Sundhar                                   H
                         Email Chain between
                             C. Wright, S.
      D360     9/9/08                             DEF_00020018
                            Sundhar and D.
                                Kleiman                                   H
                         Email chain between
      D361     9/10/08     C. Wright and D.       DEF_00007173
                                Kleiman                                   H
                         Email chain between
      D362    10/13/08       C. Wright, D.        DEF_00019787
                          Kleiman and others                             R, H
                         Email chain between
      D363     12/3/08    D. Kleiman and C.       DEF_00008325
                                 Wright                                  R, H
                           Copy of data from
                           Corsair Survivor
                           Stealth TD Black
      D364     4/26/13     USB thumbdrive.
                                 Serial:
                         DCA46D83A46D614                               SPEC,
                                    E                                 UP, CML
                           Copy of data from
                           Corsair Survivor
      D365     4/26/13   Stealth TD Gray Blue
                           USB thumbdrive.                             SPEC,
                                 Serial:                              UP, CML


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    Number                   Description                                Objec-          on     ted
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                         68A87A90A87A5C8
                                    E
                           Copy of data from
                            Corsair Survivor
                            Stealth TD Gray
      D366     4/26/13        Orange USB
                          thumbdrive. Serial:
                         D8B0BD66B0BDBA                                 SPEC,
                                    E                                  UP, CML
                           Copy of data from
                           CEIC 2009" 2GB
      D367     4/26/13     USB thumbdrive.
                         Serial:780495570495                            SPEC,
                                  18E8                                 UP, CML
                           Copy of data from
                            Corsair Survivor
      D368     4/26/13   Stealth TD Gray Blue
                           USB thumbdrive.                              SPEC,
                          Serial: 8AFB-1741                            UP, CML
                           Copy of data from
                           IACIS 2GB USB
      D369     4/26/13
                          thumbdrive. Serial:                           SPEC,
                              0B10-7EDF                                UP, CML
                           Copy of data from
                               Key USB
      D370     4/26/13
                          thumbdrive. Serial:                           SPEC,
                              7004-OABA                                UP, CML
                           Copy of data from
                         Microvault Tiny USB
      D371     4/26/13
                          thumbdrive. Serial:                           SPEC,
                          503434503434374                              UP, CML
                           Copy of data from
                            SanDisk Cruzer
      D372     4/26/13         Micro USB
                          thumbdrive. Serial:                           SPEC,
                         F892E54992E50CC6                              UP, CML
                           Copy of data from
                            Western Digital
      D373     4/26/13           WDC
                           WD7500BPVT-0                                 SPEC,
                           hard drive. Serial:                         UP, CML


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                                 WD-
                          WX71A20K2955
                          Copy of data from
                                Seagate
      D374     4/26/13   ST9500325AS hard
                             drive. Serial:                                   SPEC,
                             5VE1B6VT                                        UP, CML
                          Copy of data from
                          Hitachi HTS72101
      D375     4/26/13
                          hard drive. Serial:                                 SPEC,
                         MPCZN2Y0GS007H                                      UP, CML
                          Copy of data from
                           Western Digital
                                 WDC
      D376     4/26/13    WD3200BEKT-2
                          hard drive. Serial:
                                 WD-                                          SPEC,
                          WXMY08HR0801                                       UP, CML
                          Copy of data from
                                Seagate
      D377     4/26/13   ST9500420AS hard
                             drive. Serial:                                   SPEC,
                              5VJ07GCY                                       UP, CML
                          Copy of data from
      D378     4/26/13   HTC T7373X Touch                                     SPEC,
                                 Pro2                                        UP, CML
                         Email chain between
                          D. Kleiman and C.         DEF_00018862-
      D379     2/16/11
                            Wright re: RE:          DEF_00018865
                               Abstract 1                                        H
                         Email chain between
                          D. Kleiman and C.
                                                    DEF_00005716-
      D380     7/17/08   Wright re: How are
                                                    DEF_00005744
                          you going with the
                                 paper                                           H
                         Email to D. Kleiman
                         and L. Wright from
      D381    10/22/08                               DEF_00034187
                          C. Wright re: Book
                                Arrived                                          H
                           Bitcoin Talk re:
                                                 https://satoshi.nakamot
      D382     6/18/10     Transactions and
                                                 oinstitute.org/posts/bitc
                             Scripts: DUP                                     H, A, R

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                         HASH160…Equalver          ointalk/127/#selection-
                               ify Checksig              71.0-71.10
                              Cryptography
                                                   https://satoshi.nakamot
                          Mailing List from J.
      D383    11/17/08                             oinstitute.org/emails/cr
                           Donald re: Bitcoin
                                                       yptography/15/
                            P2P e-cash paper                                   H, A, R
                          Email to D. Kleiman
                           from C. Wright re:
                                                      DEF_00005051-
      D384     2/23/06     Why Easy To Use
                                                      DEF_00005058
                           Software Is Putting
                               You At Risk                                        H
                          Email to D. Kleiman
      D385    10/11/06     from C. Wright re:         DEF_00022341
                                   Yikes                                          H
                          Email to D. Kleiman
                                                      DEF_00022352-
      D386    10/13/06     from C. Wright re:
                                                      DEF_00022354
                                    List                                          H
                          Email to D. Kleiman
                         from C. Wright re: Is
                            a career change to        DEF_00005268-
      D387    12/13/06
                          Computer Forensics          DEF_00005272
                           fantasy or can it be
                                  reality?                                     H, BOL
                          Email to D. Kleiman
                                                      DEF_00005287-
      D388     2/5/07      from C. Wright re:
                                                      DEF_00005291
                           [CCE2] Case Law                                     H, BOL
                          Email to D. Kleiman
                                                      DEF_00029115-
      D389     5/12/08   from C. Wright re: 32
                                                      DEF_00029118
                                wipe falacy                                       H
                           Bitcoin.com email       https://www.bitcoin.co
                         from S. Nakamoto to              m/satoshi-
      D390     1/10/11
                           M. Hearn re: More        archive/emails/mike-
                            BitCoin questions              hearn/12/           H, A, R
                          Certified Complaint
                              to Foreclosure
                             Mortgage and to
                              Enforce a Lost         CERT_00000001-
      D391
                           Instrument and for        CERT_00000027
                          Reestablishment of a
                             Mortgage, Wells                                    H, R,
               4/9/09       Fargo Bank v. D.                                    CML


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                                                                                             tions
                           Kleiman Case no.
                            2009CA012496
                          Certified Notice of
                          Lis Pendens, Wells
      D392                 Fargo Bank v. D.          CERT_00000028
                           Kleiman Case no.                                     H, R,
               4/9/09       2009CA012496                                        CML
                          Certified Notice of
                             Dismissal and
                          Cancellation of the
                                                     CERT_00000029-
      D393                   Notice of Lis
                                                     CERT_00000030
                         Pendens, Wells Fargo
                          v. D. Kleiman Case                                    H, R,
               7/8/09     no. 2009CA12496                                       CML
                           Certified Verified
                           Complaint, Wells
                                                     CERT_00000031-
      D394                 Fargo Bank v. D.
                                                     CERT_00000059
                           Kleiman Case no.                                     H, R,
              12/14/11     2011CA0250057                                        CML
                          Certified Notice of
                          Lis Pendens, Wells
      D395                 Fargo Bank v. D.          CERT_00000060
                           Kleiman Case no.                                     H, R,
              12/14/11     2011CA0250057                                        CML
                          Certified Notice of
                         Voluntary Dismissal,
                                                     CERT_00000061-
      D396               Wells Fargo Bank v.
                                                     CERT_00000062
                         D. Kleiman Case no.                                    H, R,
               4/30/13       211CA02057                                         CML
                             Certified Final
                              Judgment of
                          Foreclosure, Wells         CERT_00000088-
      D397
                           Fargo Bank v. L.          CERT_00000096
                           Kleiman Case no.                                     H, R,
               5/2/16       2013CA013002                                        CML
                             Cryptography
                                                   https://satoshi.nakamot
                         Mailing List from H.
      D398     11/9/08                             oinstitute.org/emails/cr
                           Finney re: Bitcoin
                                                        yptography/6/
                           P2P e-cash paper                                    H, A, R
                                                   KLEIMAN_00565206-
      D399     4/25/14
                           I. Kleiman notes        KLEIMAN_00565209               R


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                                                                                        tions
                                Plaintiff Ira
                           Kleiman’s Response
                           to Dr. Wright’s First                             R,
      D400    4/1/2020
                                Request for                               pleading
                             Admission to Ira                                not
                                 Kleiman                                 admissible
                           Plaintiff, W&K Info
                             Defense Research
                          LLC Response to Dr.                                R,
      D401    4/1/2020
                              Wright’s First                              pleading
                                Request for                                  not
                                Admission                                admissible
                                Plaintiff Ira
                                Kleiman’s
                               Supplemental
                            Response to #’s 28-
      D402    4/15/2020   33, 36-45, 48-57, and
                          60-63 of Dr. Wright’s                              R,
                             First Request for                            pleading
                             Admission to Ira                                not
                                 Kleiman                                 admissible
                              A. Klin, PhD’s
      D403    3/7/2020
                             curriculum vitae                                H
                             Second Amended
                            Complaint and Jury
      D404    1/14/2019    Complaint, Kleiman             DE 83
                           v. Wright, Case no.:
                            9:18-cv-80176-BB                               H, R
                                                                          H, non-
                                                                         disclosed
                                                                          expert;
              4/6/2020                                                   witness as
      D405       and                                                     mouthpiec
              4/7/2020                                                     e for
                                                                          absent
                          Exhibit 4 to A. Klin’s                         purported
                          4/21/2020 deposition                            expert
                           Berkeley Research
                          Group, LLC (“BRG”)
      D406    4/16/2019
                              / M. Edman
                              engagement                                    H, R


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                                                                           tions       Objec-
                                                                                        tions
                           W. Choi’s curriculum
      D407
                                    vitae                                    H
                              Exhibit 03 to A.
      D408    11/6/2019        Antonopoulos’
                           1/7/2020 deposition                              H, R
                              Exhibit 04 to A.
      D409    11/9/2019        Antonopoulos’
                           1/7/2020 deposition
                              Exhibit 07 to M.
      D410                 Edman’s 10/1/2021
                                 deposition                                 H, R
                              Exhibit 08 to M.
      D411                 Edman’s 10/1/2021
                                 deposition                                 H, R
                              Exhibit 23 to M.
      D412    9/13/2021    Edman’s 10/1/2021
                                 deposition
                              Exhibit B to M.
      D413    9/27/2021    Edman’s 10/1/2021
                                 deposition                                  H
      D414    4/10/2020    K. Madura’s resume                                H
                            Addendum 1 to A.
      D415    4/10/2020
                           Klin’s expert report                              H
                            Addendum 2 to A.
      D416    4/10/2020
                           Klin’s expert report                              H
                               Exhibit B in R.
      D417    3/25/2020    Leonard’s 4/20/2020
                                 deposition                                 H, R
                               N. Chamber’s
      D418    4/10/2020
                              curriculum vitae                               H
                               D. MacIntyre’s
      D419    12/13/2019
                              curriculum vitae                               H
                              W. Nicholson’s
      D420    4/10/2020
                              curriculum vitae                               H
                            Email to T. Draper
                            from I. Kleiman re:
      D421    6/23/2016                            KLEIMAN_00563552
                           Bitcoin - My brother
                                was Satoshi                                  R
                              W. Eggington’s
      D422     2/2020
                              curriculum vitae                               H



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    Exhibit     Date           Document                    Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                     Description                                       Objec-          on     ted
                                                                                  tions       Objec-
                                                                                               tions
                              W. Eggington’s
      D423     2/2020      Forensic Linguistics
                                Experience                                        H
                           Letter from D. James                                  H, R,
      D424    10/8/2019
                                to S. Cohen                                     BOL, IC
                           Photographs of Dave
      D425       N/A       Kleiman’s electronic
                                   devices                                          R
                           ICANN LOOKUP(/)
      D426    10/19/2021     Registration data
                                lookup tool                                      H, R, A
                           GoDaddy Search the
      D427    10/19/2021
                             WHOIS Database                                      H, R, A
                            Metadata extracted
      D428                          from
                           DEFAUS_00081546                                          F
                              Email from D.
                                Pannasch to
                           adh@lbellrosen.com
                             re: Records from             KLEIMAN_00004543-
      D429     2/7/2017
                            TelTech Systems to            KLEIMAN_00004643
                            the Estate of David
                            Alan Kleiman, with
                                 attachment                                     H, R, MIL
                               D. Kleiman’s
                                                          KLEIMAN_00568719-
      D430     3/12/12      Trapcall voicemail
                                                          KLEIMAN_00568788
                                 transcripts                                    H, R, MIL
                           Affidavit of Andreas
      D431     1/27/20
                             M. Antonopoulos                                       H, R
                           Tweet of Andreas M.
      D432     1/29/20
                               Antonopoulos                                        H, R
                               Class Action
                           Complaint, Leibowitz
      D433    10/6/2019
                           et al vs. Ifinex Inc et
                                      al                                           H, R
                               Third Annual
                           HLSBFI Blockchain,
      D434      3/4/21
                            Fintech & the Law
                                Conference                                         R, H
                           Law Review Article.
      D435
                              Bitcoin: Order                                       R, H


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    Exhibit     Date          Document                 Bates No. / Source     Plaintiffs’   Ruling   Admit-
    Number                    Description                                      Objec-          on     ted
                                                                                tions       Objec-
                                                                                             tions
                            Without Law in the
                                Digital Age
                          Opinion and Order in
      D436     2/1/15     U.S. vs. Ross William
                                  Ulbricht                                    R, UP, H
                           Letter from L. Lewis
                            to S. Turner and T.
      D437    1/26/2015
                           Howard, Re: U.S. vs.
                               Ross Ulbricht                                     R, H
                          Tweet by V.
      D438     4/19/21
                          Freedman                                                R
                          YouTube clip:
                          Norges Bitcoin-og
                                                      https://www.youtube.c
                          Blockchainforening
                                                      om/watch?v=5ODDCx
      D439    4/27/2017   Interview with
                                                              6VL2Y
                          Andreas M.
                          Antonopoulos, Oslo,
                          - Norway.                                              R, H
                          "Talk by
      D440                Antonopoulos - 1"
                                                                                 R, H
                          YouTube clip: 2020
                          or 1984 Can Bitcoin         https://www.youtube.c
      D441                Save Us-                    om/watch?v=LnnTHY
                          LnnTHY3z8Fs.mp4             3z8Fs&ab_channel=aa
                                                               ntonop            R, H
                          YouTube clip:
                          Chicago, IL, “The
                          Internet of Money: 5
      D442     4/25/18
                          Years Later Sold
                          Out”
                                                                                 R, H
                                                      https://www.youtube.c
               8/28/19    YouTube clip:               om/watch?v=cDdUU_y
      D443
                          Bitcoin Q&A                          m46c
                                                                                 R, H
                          YouTube clip:
                          Bitcoin Q&A -               https://www.youtube.c
                          Sanctions and               om/watch?v=DeXe5eG
      D444
                          Censorship-                          Rl7E
                          Resistance
                                                                                 R, H

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    Exhibit     Date           Document                 Bates No. / Source      Plaintiffs’   Ruling   Admit-
    Number                     Description                                       Objec-          on     ted
                                                                                  tions       Objec-
                                                                                               tions
                          YouTube clip:
                                                       https://www.youtube.co
                          Bitcoin Q&A - Social
               5/30/19                                 m/watch?v=4Y5DmCOPk
      D445                Good, Legality, and                    TY
                          Adoption
                                                                                   R, H
                          YouTube clip:
                          Bitcoin Q&A -State-
                                                       https://www.youtube.c
                          sponsored Digital
               2/27/19                                 om/watch?v=dSpFbg7j
      D446                Currencies and Trust
                                                                lDw
                          Minimization
                          ARGENTINA
                                                                                   R, H
                          YouTube clip:
                                                       https://www.youtube.c
                          Bitcoin Q&A
               3/11/19                                 om/watch?v=xspdlOtBj
      D447                Taxation and Failed
                                                                 cE
                          Societies
                                                                                   R, H
                          YouTube clip:
                          Bitcoin Q&A-
                                                       https://www.youtube.c
                          Universal Basic
               8/3/19                                  om/watch?v=YnCbiCO
      D448                Finance and
                                                                woAY
                          Encryption
                          Backdoors
                                                                                   R, H
                          Talk by
      D449                Antonopoulos - 2
                                                                                   R, H
                          YouTube clip:
                          Bitcoin Q&A -                https://www.youtube.c
               8/26/19    Political Orientation        om/watch?v=ImhEkJh2
      D450
                          and Resisting                         pe4
                          Cashlessness
                                                                                   R, H
                          YouTube clip: Q&A
                          - SegWit, Schnorr,           https://www.youtube.c
      D451                Taproot, and                 om/watch?v=nf_GCdC
                          Graftroot                             aQww
                                                                                  R, H
                                                       DEF_01652819_DEF_          R, H,
      D452      2009
                          Agreement                        PROD043                COM
                                                       DEF_01908063_DEF_          R, H,
      D453    1/30/2009
                          Agreement                        PROD049                COM

                                                  40
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        Exhibit     Date           Document                Bates No. / Source     Plaintiffs’   Ruling   Admit-
        Number                     Description                                     Objec-          on     ted
                                                                                    tions       Objec-
                                                                                                 tions
                              Document introduced
                              in confidential
         D454
                              witness deposition
                              Pg. 35 Ln. 2                                        H, CHAR
                              Document introduced
                              in confidential
         D455
                              witness deposition
                              Pg. 36 Ln. 1                                        H, CHAR
                              Document introduced
                              in confidential
         D456
                              witness deposition
                              Pg. 36 Ln. 7                                        H, CHAR
                              Document introduced
                              in confidential
         D457
                              witness deposition
                              Pg. 37 Ln. 8                                        H, CHAR
                              Exhibit introduced in
                              S. Boedeker
         D458
                              deposition Pg. 44 Ln
                              11                                                       R
                              P442- A.
                              Antonopoulos
                              Amended Subpoena             Antonopoulos Dep.
         D459 2   1/2/2020
                              to Testify and                (01.07.20) Ex. 1
                              Request for
                              Documents                                              R, H
                              P418- Twitter
                              exchange between R.          Antonopoulos Dep.
         D460     12/5/2017
                              Ver and                       (01.07.20) Ex. 8       H, R, UP,
                              A. Antonopoulos                                       CHAR
                              P487- Conversation           Antonopoulos Dep.       H, R, UP,
         D461
                              on Reddit                     (01.07.20) Ex. 9        CHAR
                              P421- Lucind Shen,
                              “Why People Are
                              Giving This Man              Antonopoulos Dep.
         D462     12/8/2017
                              Almost $2 Million in         (01.07.20) Ex. 10-
                              Free Bitcoin,”                                       H, R, UP,
                              Fortune                                               CHAR

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     Exhibits D459 through D480 are also exhibits on plaintiffs’ exhibit list. In including these
    documents on this amended exhibit list, Dr. Wright removes his objections to plaintiffs’
    corresponding exhibits.
                                                      41
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    Exhibit     Date          Document             Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                    Description                                Objec-          on     ted
                                                                          tions       Objec-
                                                                                       tions
                          P479- A.
                                                   Antonopoulos Dep.
      D463                Antonopoulos
                                                    (01.07.20) Ex. 11
                          Bitcoin address                                A, H, R
                          P480- Chart that
                                                   Antonopoulos Dep.
      D464                shows outflows from                            A, R, H,
                                                    (01.07.20) Ex. 12
                          Bitcoin address                                 DEM
                          P453- I am Andreas
                          M. Antonopoulos,
                          Author of "Mastering
                                                   Antonopoulos Dep.
      D465                Bitcoin"- Ask Me
                                                    (01.07.20) Ex. 13
                          Almost Anything!
                          (IamAMA AMB                                   H, R, UP,
                          AMAA!)                                           IC
                          P419- A.
                          Antonopoulos on          Antonopoulos Dep.
      D466    12/6/2017
                          Patreon, "In defense     (01.07.20) Ex. 15    H, R, UP,
                          of optimism"                                   CHAR
                          P481- A.
                          Antonopoulos'            Antonopoulos Dep.
      D467
                          Donation Page on          (01.07.20) Ex. 16   H, R, UP,
                          website                                        CHAR
                          P440- David Stancel,
                          "Coin Perspective #1:
                          Andreas
                                                   Antonopoulos Dep.
      D468    10/8/2019   Antonopoulos,
                                                    (01.07.20) Ex. 20
                          Bitcoin is more
                          resilient than I
                          thought!" Medium                                 R, H
                          P445- A.
                                                   Antonopoulos Dep.
      D469    1/4/2020    Antonopoulos
                                                    (01.07.20) Ex. 21
                          Twitter posts                                    R, H
                          P485- A.
                                                   Antonopoulos Dep.
      D470                Antonopoulos
                                                    (01.07.20) Ex. 22
                          Twitter posts                                    H, R
                          P423- Twitter
                          Response to Karma        Antonopoulos Dep.
      D471    2/17/2018
                          Machine from A.           (01.07.20) Ex. 23
                          Antonopoulos                                     H, R
                          P413- A.
                                                   Antonopoulos Dep.
      D472    6/19/2017   Antonopoulos
                                                   (01.07.20) Ex. 24
                          Twitter posts re                                  H


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    Exhibit     Date           Document                 Bates No. / Source   Plaintiffs’   Ruling   Admit-
    Number                     Description                                    Objec-          on     ted
                                                                               tions       Objec-
                                                                                            tions
                           disagreeing with C.
                           Wright about Segwit
                            P414- A.
                            Antonopoulos
                                                        Antonopoulos Dep.
      D473    6/19/2017     Twitter posts re
                                                        (01.07.20) Ex. 25
                           disagreeing with C.
                           Wright about Segwit                                   H
                           P307 - A.
                                                        Antonopoulos Dep.
      D474    12/9/2015    Antonopoulos
                                                        (01.07.20) Ex. 27-
                           Twitter post                                        R, UP
                           P372- A.
                           Antonopoulos
                           Twitter post "My             Antonopoulos Dep.
      D475    5/2/2016
                           faith in bitcoin is          (01.07.20) Ex. 29-
                           unchanged from
                           yesterday"                                           H, R
                           P390- A.
                           Antonopoulos
                           Twitter post "Avoid
                           schadenfreude. Con
                                                        Antonopoulos Dep.
      D476    5/2/2016     artists can fool even
                                                        (01.07.20) Ex. 30
                           the smartest people.
                           What happened to
                           Gavin and Jon could
                           happen to anyone."                                   H, R
                           P426- A.
                           Antonopoulos                 Antonopoulos Dep.
      D477    5/24/2018
                           Twitter response to          (01.07.20) Ex. 31-
                           HodlrDotRocks                                        H, R
                           P430- A.
                           Antonopoulos                 Antonopoulos Dep.
      D478    11/162018
                           Twitter posts re              (01.07.20) Ex. 32
                           Faketoshi                                            H, R
                           P431- Mark Emem,
                           "Shots Fired: Craig
                           Wright Calls Bitcoin
                                                        Antonopoulos Dep.
      D479    1/4/2019     Evangelist Andreas
                                                         (01.07.20) Ex. 33
                           Antonopoulos
                           'Sh*tcoin Expert,"
                           CNN                                               H, R, UP
              7/2/2009 -   P463- Chat                   KIMON_00000024-
      D480
              4/18/2013    conversations                KIMON_00000200          R, H

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    Number                    Description                                          Objec-          on     ted
                                                                                    tions       Objec-
                                                                                                 tions
                         between K. Andreou
                         and D. Kleiman,
                         Authorization to
      D481       5/21/13 obtain consumer                 KARP_00000157
                         credit information                                       R, H, UP
                         Palm Beach County –
      D482       8/13/20 Sheriff’s office
                         offense report                                              R, H
                         Expert Declaration of
                                                       Exhibit 4 to Matthew
                         Dr. Matthew Edman,
      D483     8/23/2016                                Edman 1/16/2020
                         USA v. Timithoy
                                                            deposition
                         Livingston                                                  H, R
                         Declaration of Dr.
                         Matthew J. Edman,
      D484      1/7/2016 Rosebank Road
                         Medical Services Ltd
                         v. Ramji Govindaran                                         H, R
                         Expert Declaration of
                         Dr. Matthew J.
      D485    10/20/2016
                         Edman, USA v.
                         Timothy Livingston                                          H, R
                                                          Exhibit 28 to A.
      D486     5/2/2016   Blog post by Gavin               Antonopoulos’
                          Andresen Re: Satoshi          1/7/2020 deposition          H, R
                          Hive Blog “Brace            https://hive.blog/bitcoin
                          yourself for a fresh           /@dhimmel/brace-
      D487      2017
                          round of fake                 yourself-for-a-fresh-
                          Satoshi’s                   round-of-fake-satoshi-s        H, R
                          Email from I.
                          Kleiman to C. Wright
      D488    2/17/2014                               KLEIMAN_00177455
                          re: FW: AGMO COE
                          in IPv6.pptx
                          Email from I.
      D489    12/4/2015   Kleiman to A. Cush          KLEIMAN_00179300
                          re: BTC to Pay Bills
                                                      https://www.youtube.com/
                          YouTube recording:           watch?v=n3Wt-mZ0tq8
      D490                Zoom panel with
                          Antonopoulos                                               H, R
                          Email chain between
                                                        Kimon_00000202-
      D491    2/27/2018   P. Paige and K.
                                                        Kimon_00000205
                          Andreou                                                     H

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           Respectfully submitted,


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                                                       AMANDA MCGOVERN
                                                       Florida Bar No. 964263
                                                       SCHNEUR KASS
                                                       Florida Bar No. 100554
                                                       ZAHARAH MARKOE
                                                       Florida Bar No. 504734




                                  CERTIFICATE OF SERVICE

           I certify that on October 29, 2021, I electronically filed this document with the Clerk of the
    Court using CM/ECF. I also certify that this document is being served today on all counsel of
    record either by transmission of Notices of Electronic Filing generated by CM/ECF or by U.S.
    Mail.


                                                       /s/ Andres Rivero
                                                       Andres Rivero




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